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UNITED STATES DISTRICT COURT Ma 16 2016
CENTRAL DISTRICT OF CALIFORNIA ~ y ’ tv

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CRIMINAL MINUTES - GENERAL y
case No'. 16-10061\/1 bare May 16, 2016

 

Title v United States v. Davalos-Cobian

 

Present: The Honorable Michael R. Wilner

 

 

Veronica McKamie l n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Government: Attorneys Present for Defendant:
n/a n/a
Proceedings: (IN CHAMBERS) ORDER OF DETENTION

The Court conducted a detention hearing on:

>14 The motion of the Government [18 U.S.C. § 3142(f)(1)] in a case allegedly
involving: a narcotics or controlled substance offense with maximum sentence of ten or more
years.

l:l The motion of the Government or on the Court’s own motion [18 U.S.C.
§ 3142(f)(2)] in a case allegedly involving:

>14 The Court concludes that the Government is entitled to a rebuttable presumption
that no condition or combination of conditions will reasonably assure the defendant’s
appearance as required and the safety or any person or the community [18 U.S.C. § 3142(e)(2)].

>Z<` The Court finds that the defendant |:| has has not rebutted the presumption
under 18 U.S.C. § 3142(e)(2) by sufficient evidence to the contrary.

*>l¢*

The Court finds that no condition or combination of conditions will reasonably assure:
the appearance of the defendant as required.
the safety of any person or the community.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL
Case No. 16-1006M Date May 16, 2016

 

Title United States v. Davalos-Cobian

 

The Court bases its findings on the following:

As to risk of non-appearance:

}14_ Lack of bail resources

l:l Ref`usal to interview with Pretrial Services

}14 No stable residence or employment in United States

l:| Previous failure to appear or violations of probation, parole, or release
}I{ Ties to foreign countries

ill Unrebutted presumption [18 U.S.C. § 3142(e)(2)]

|:l

As to danger to the community:

l:l Nature of previous criminal convictions

}'14 Allegations in present charging document

|:| Substance abuse

|:l Already in custody on state or federal offense

b!< Unrebutted presumption [18 U.S.C. § 3142(e)(2)]
|:l

[X Defendant submitted to detention

ln reaching this decision, the Court considered: (a) the nature and circumstances of the
offense(s) charged, including whether the offense is a crime of violence, a federal crime of
terrorism, or involves a minor victim or a controlled substance, firearrn, explosive, or destructive
device; (b) the weight of evidence against the defendant; (c) the history and characteristics of the
defendant; and (d) the nature and seriousness of the danger to any person or the community.
[18 U.S.C. § 3142(g)] The Court also considered the evidence presented at the hearing, the
arguments of counsel, and the report and recommendation of the U.S. Pretrial Services Agency.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

v CRIMINAL MINUTES - GENERAL
Case No. 16-1006M Date May 16_. 2016

 

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IT IS THEREFORE ORDERED that the defendant be detained until trial. The defendant
will be committed to the custody of the Attorney General for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant will be afforded reasonable opportunity for
private consultation with counsel. On order of a Court of the United States or on request of any
attorney for the Government, the person in charge of the corrections facility in Which defendant
is confined will deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding [18 U.S.C. § 3142(i)]

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